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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


 BELLA HEALTH AND WELLNESS et
 al.,

    Plaintiffs,                                   Case No. 1:23-cv-939-DDD-SKC

 CHELSEA M. MYNYK,

    Plaintiff-Intervenor,                        INTERVENOR-PLAINTIFFS’
                                                  UNOPPOSED MOTION TO
    v.                                          RESTRICT REPLY IN SUPPORT
                                                 OF MOTION FOR SUMMARY
 PHIL WEISER, in his official capacity as              JUDGMENT
 Attorney General of Colorado, et al.,

    Defendants.


         Pursuant to Local Rule 7.2, Intervenor-Plaintiff Chelsea Mynyk seeks leave

from this Court to file her Reply in Support of Motion for Summary Judgment and

Exhibit 1, Deposition of Chelsea Mynyk, under a Level 1 restriction. Intervenor-

Plaintiff further seeks leave to file a redacted version of her Reply on the public

docket. In support of this motion, Intervenor-Plaintiff states as follows:

         1. Pursuant to the Scheduling Order governing this case, the Intervenor-

Plaintiff is filing a reply in support of her motion for summary judgement on March

21, 2025.

         2. The parties have engaged in extensive discovery, which included the pro-

duction of confidential and sensitive information under the Stipulated Protective

Order entered in this case. ECF 132.



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       3. Intervenor-Plaintiff is unable to effectively file her reply in support of her

motion for summary judgment without explicit reference to and discussion of this

confidential information. Without the restriction, otherwise non-public information

covered by the stipulated protective order will be publicly disclosed.

       4. At this stage of the proceedings, the public’s interest in accessing the con-

fidential information reflected in Intervenor-Plaintiffs’ reply and deposition tran-

script does not outweigh the parties’ interests in confidentiality and privacy.

       5. For these reasons, Intervenor-Plaintiff seeks permission to file her reply

to her motion for summary judgment and related exhibits under a Level 1 re-

striction.

       6. Intervenor-Plaintiff further seeks permission to file a redacted version of

her reply to her motion for summary judgment on the public docket. This version

will redact all confidential information under the stipulated protective order.

       7. Defendants do not oppose this motion.

       8. For the foregoing reasons, Intervenor-Plaintiff respectfully requests that

this Court grant leave to (1) file Intervenor-Plaintiff’s Reply to Motion for Summary

Judgment and related exhibits under a Level 1 restriction; and (2) file on the public

docket a version of the reply redacting all confidential information under the stipu-

lated protective order.




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Dated: March 21, 2025                Respectfully submitted,

                                     /s/ Kevin H. Theriot
                                     Kevin H. Theriot
                                     Julia C. Payne
                                     Gabriella M. McIntyre
                                     Alliance Defending Freedom
                                     15100 N. 90th St.
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                                     (480)-444-0020
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                          CERTIFICATE OF CONFERENCE

       Pursuant to Local Civil Rule 7.1(a), I hereby certify that, on March 21, 2025,

counsel for Intervenor-Plaintiff, Julia C. Payne, conferred with counsel for Defend-

ants, who indicated that they do not oppose this motion.


                                         s/ Julia C. Payne
                                         Julia C. Payne



                           CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing pleading complies with the type-volume lim-

itation set forth in Judge Domenico’s Practice Standard III(A)(1).


                                         s/ Kevin H. Theriot
                                         Kevin H. Theriot



                              CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2025, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system which will send a notice of electronic

filing to all counsel of record.


                                         s/ Kevin H. Theriot
                                         Kevin H. Theriot




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